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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERB DISTRICT OF TEXAS
                               MARSHALL DIVISION

ROTHSCHILD BROADCAST                  §
DISTRIBUTION SYSTEMS, LLC,            §
                                      §
      Plaintiff,                      §                        Case No: 2:18-cv-00333-RWS
                                      §
vs.                                   §
                                      §
CENTURYLINK, INC.,                    §
                                      §
      Defendant.                      §
_____________________________________ §

                            ORDER AND FINAL JUDGMENT

      On this date, the Court considered Plaintiff Rothschild Broadcast Distribution
   .
 Systems, LLC’s Motion to Dismiss Under Fed. R. Civ. P. 41(a)(1)(A)(i). Docket No. 5.

 Having considered the motion, the Court finds that it should be, and is hereby,

 GRANTED Therefore, it is

      ORDERED that Plaintiff’s claims against Defendant CenturyLink, Inc. are

 DISMISSED WITH PREJUDICE with each party to bear its own attorneys’ fees and costs.

      All motions by either party not previously ruled on are hereby DENIED AS MOOT.

      The Clerk of the Court is directed to close this case.

      SIGNED this 4th day of April, 2019.



                                                          ____________________________________
                                                          ROBERT W. SCHROEDER III
                                                          UNITED STATES DISTRICT JUDGE
